The court erred in sustaining the general demurrer and in dismissing the action.
      DECIDED OCTOBER 4, 1941. REHEARING DENIED NOVEMBER 22, 1941.
Mrs. Lucile Johnson filed an action for damages for personal injuries against the Mayor and Aldermen of the City of Savannah. The petition as amended is in part as follows: "1. That on the *Page 218 
8th day of May, 1940, the Mayor and Aldermen of the City of Savannah, a municipal corporation of the State of Georgia, was the tenant of certain real estate and premises known as 208 and 210 Bay Street, East, in the City of Savannah, Chatham County, Georgia, the premises having been leased to the said municipal corporation by H. Wiley Johnson and Lila C. Dunn, under a written lease on file with the Mayor and Aldermen of the City of Savannah. 2. That on said date, and for at least ten days or two weeks prior to that date, the health department of the said municipal corporation was using the said premises for the purpose of vaccinating citizens and residents of the City of Savannah against smallpox. The public generally were urged and notified by the said health department of said corporation to come to said premises and submit to vaccination. That the said premises are situated on the north side of Bay Street, East, a public street of the City of Savannah, and also on the northern side of a public street known as Factor's Walk, a public street Factor's Walk being immediately adjacent to said premises and below the level of Bay Street proper. The said Factor's Walk, a public street as aforesaid, is about twenty-five feet wide on the level of Factor's Walk. There are rooms in said premises which were also being used by the health authorities of the said municipal corporation for vaccination of the public. That in order to reach the said premises and the story and rooms which are on a level with Bay Street on said Factor's Walk, there was a bridge existing opposite the doors of the said premises 208 and 210 Bay Street, leading from the paved sidewalk on the extreme northern edge of Bay Street across and over the said Factor's Walk and joining with the brick building of the said premises 208 and 210 Bay Street, East. The said bridge was about twenty-five feet in length and about five feet in width. The main supports of said bridge were of iron, while the flooring was of wood. 3. That the said bridge aforesaid was identical in construction with a large number of other bridges which led from the public sidewalks of the City of Savannah on the northern side of Bay Street, East, across Factor's Walk to a large number of other buildings similarly situated as the premises 208 and 210 Bay Street, East. But the bridges leading from the sidewalk of Bay Street over Factor's Walk into the doors of the said other buildings on the level with Bay Street in the blocks adjacent to the block in *Page 219 
which the premises 208-210 Bay Street, East, are situated, had iron supports erected underneath the middle portion of the said bridges, which supports led downward and rested upon concrete foundations on Factor's Walk, thereby giving the said other bridges support in the middle portions thereof. The ends of said bridges, including that leading into 208 and 210 Bay Street, East, are fastened on one end to the sidewalk and the other end to the buildings. The said sidewalk where one end of the bridge was fastened to the public sidewalk of the City of Savannah had been in use by the public for more than seventy-five years. This said sidewalk borders on and is adjacent to a public street of the City of Savannah, the same being an extension of Bay Street, also a public street of the City of Savannah. The said public street has been maintained by the said municipal corporation as a public street for more than seventy-five years. The use by the public of the other bridges to the other said buildings for the past seventy-five years up to and including May 8, 1940, was identical with the use by the public of the bridges leading to the premises 208 and 210 Bay Street, East. The said public use of all said bridges was well known to said municipal corporation during all the said period of time. The two steel beams upon which the flooring and railings of the said bridge were fastened were about six inches wide and two inches thick. The southern ends of the two said beams were laid in the edge of the said public sidewalk in a brick wall extending upward on Factor's Walk to the level of said sidewalk of Bay Street. The said ends were embedded in mortar and brick for about eight to ten inches, more or less, into said brick wall, and about six to eight inches, more or less, below the level of the said sidewalk. The northern ends of the said beams of said bridge were laid into the brick wall of the said premises 208-210 Bay Street, East, about twelve inches more or less beneath the door of the said building, and extended into the side of the said brick wall about eight to ten inches more or less."
The remainder of the petition deals with allegations of negligence of the defendant and the cause and extent of the plaintiff's injuries, alleging in substance that while petitioner, together with seventy-five to a hundred people, was standing on the bridge leading to the premises described for the purpose of carrying her child to the city clinic operated in the building, the bridge collapsed, resulting in injury to petitioner. *Page 220 
The defendant filed the following demurrers: "1. Said petition does not set forth facts sufficient to constitute a cause of action against this defendant. 2. Said petition shows that, at the time described in the petition, the plaintiff's injuries were received as a result of the exercise of a governmental function by the defendant municipal corporation. 3. Plaintiff's presence and mission at the place where she was injured was not of such nature as would give her a cause of action against this defendant." The court sustained the general demurrer and dismissed the action. The plaintiff excepted.
The sole question is whether the petition sets out sufficient facts to authorize the conclusion that the bridge leading from Bay Street to the second story of the building on Factor's Walk, No. 208, was a part of the public sidewalks of the City of Savannah. It is not alleged in the petition that the City erected or maintained the bridge. The city's contention is that in the absence of such an allegation it follows that the bridges were erected by the owners of the buildings for their own convenience and that of their customers, and not for the benefit of the general public. If this is true the case would come under the ruling in City ofAtlanta v. Keiser, 50 Ga. App. 600 (179 S.E. 192). If the bridge was not a public sidewalk, or its equivalent, the city would not be liable to a person upon the bridge for the purpose of negotiating with city authorities on the subject of a matter involving a governmental function, such as was involved in this case. The situation would be the same as if the plaintiff had attempted to go to No. 208, by way of a private stairway leading from the sidewalk to No. 208, one story above, provided of course that the stairway was not shown to be a part of a public sidewalk. If the bridge was a part of the public sidewalks of the City of Savannah the city would be liable for the alleged negligence regardless of what the plaintiff's purpose was in crossing the bridge. It would be liable if the plaintiff had been going to No. 208 on her own private business, whether the city rented the building or not.
The city contends that the petition shows on its face that the bridge in question was not a part of the public sidewalks of the *Page 221 
city. This contention is not well founded. The petition alleges that "there is no other way to get from Bay Street to the said buildings across Factor's Walk except by use of such bridges." If this allegation is true by reason of the fact that it is necessary for the public to use a part or all of the bridge in question in order to go from Bay Street to the level of Factor's Walk, it would seem that the bridge so used would be a part of the public sidewalks of the city whether the city erected or maintained the bridge or not, as the bridge would be a part of a public way leading from one public sidewalk to another public sidewalk across a public street, and under such circumstances it would be the duty of the city to provide for the safety of the bridge. This court can not anticipate what the evidence in the case will be, and must be governed by the allegations of the petition. The above-quoted allegation, together with others relating to the public use of the bridge, are sufficient to withstand a general demurrer. The petition set forth a cause of action and the court erred in sustaining the general demurrer and in dismissing the action.
Judgment reversed. Stephens, P. J., and Sutton, J., concur.